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 9
                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 15-CR-00158
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER
13
                                        )
14   BRYCE BEAVER                       ) Date: 10/20/2015
                      Defendant.        ) Time: 9:15 a.m.
15
     _________________________________) Judge: John A. Mendez
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           Plaintiff United States of America, by and through its counsel of record, and
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     defendant Bryce Beaver, by and through his counsel of record, hereby stipulate as
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19   follows:
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           1.      By previous order, this matter was set for status on October 6, 2015.
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           2.      By this stipulation, defendant now moves to continue the status
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23   conference until October 20, 2015, and to exclude time between October 6, 2015 and
24   October 20, 2015, under Local Code T4. Plaintiff does not oppose this request.
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           3.      The parties agree and stipulate, and request that the Court find the
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     following:

28         a.      The government has provided the initial discovery. The defense is also in


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 1   the process of investigation and research regarding the possible defenses in this case.
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            b.      Counsel for defendant desires additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolutions with her

 5   client. Counsel is continuing to engage in negotiations with the government.
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            c.      Counsel for defendant believes that failure to grant the above-requested
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     continuance would deny her the reasonable time necessary for effective preparation,
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 9   taking into account the exercise of due diligence.
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            d.      The government does not object to the continuance.
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            e.      Based on the above-stated findings, the ends of justice served by
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13   continuing the case as requested outweigh the interest of the public and the defendant in

14   a trial within the original date prescribed by the Speedy Trial Act.
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            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
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     § 3161, et seq., within which trial must commence, the time period of October 6, 2015
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18   to October 20. 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
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     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
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     the Court at defendant’s request on the basis of the Court's finding that the ends of
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22   justice served by taking such action outweigh the best interest of the public and the

23   defendant in a speedy trial.
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            4.      Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable

27   from the period within which a trial must commence.
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 1   IT IS SO STIPULATED.
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     Dated: October 3, 2015                    Respectfully submitted,
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 5
                                               /s/ Kelly Babineau
                                               KELLY BABINEAU
 6                                             Attorney for Bryce Beaver
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     Dated: October 3, 2015                    /s/Justin Lee
 9
                                               JUSTIN L. LEE
10                                             Assistant U.S. Attorney
11
                                      ORDER
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13         IT IS SO FOUND AND ORDERED this 5th day of October, 2015.
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                               /s/ John A. Mendez _______________________________
                              JOHN A. MENDEZ
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                              UNITED STATES DISTRICT JUDGE

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